          Case 1:18-cv-10147-DPW   Document
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                                          DISTRICT     05/02/19 Page 1 of 1
                                                   COURT
                                         DISTRICT OF MASSACHUSETTS



George Perrot

                            Plaintiff,
                                                                                      CIVIL ACTION
                    V.                                                                NO.18-CV-10147-DPW


Kelly, et al

                            Defendants.


                                        REPORT RE: REFERENCE FOR
                                     ALTERNATIVE DISPUTE RESOLUTION

                                            TO JUDGE WOODLOCK


[ ]      The parties have informed the court that they wish to withdraw their request for ADR at this time.

[X]      On April 16, 2019, I held the following ADR proceedings:

               SCREENING CONFERENCE                               EARLY NEUTRAL EVALUATION
               FOLLOWUP CONFERENCE                               SUMMARY BENCH / JURY TRIAL
               MINI-TRIAL                                      X MEDIATION (Follow up Telephone
                                                              Conference held on 5/2/19)

[X]      All parties were represented by counsel
[X]      The parties were present in person or by authorized corporate officer.


The case was:
[ ]      Settled.
[ ]      There was significant progress.
[X]      Further efforts to settle this case at this time are, in my judgment, unlikely to be productive. This
         case should be restored to your trial list.
[ ]      Suggested strategy to facilitate settlement: await further word from the parties.
[ ]      Other:


May 2, 2019                                            /s/ Kenneth P. Neiman
DATE                                                   ADR Provider
                                                       KENNETH P. NEIMAN, U.S. Magistrate Judge
